
PER CURIAM.
Affirmed. See Adaway v. State, 902 So.2d 746 (Fla. 2005) ; Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009) ; Steward v. State, 931 So.2d 133 (Fla. 2d DCA 2006) ; Shortridge v. State, 884 So.2d 321 (Fla. 2d DCA 2004) ; Brown v. State, 827 So.2d 1054 (Fla. 2d DCA 2002) ; Banaszak v. State, 579 So.2d 867 (Fla. 2d DCA 1991) ; Sims v. State, 141 So.3d 613 (Fla. 4th DCA 2014).
SILBERMAN, VILLANTI, and ATKINSON, JJ., Concur.
